       Case 7:19-cv-10983-VR              Document 126           Filed 03/31/25    Page 1 of 54




       UNITED STATES DISTRICT COURT
                                                                                                  3/31/2025
       SOUTHERN DISTRICT OF NEW YORK

       -----------------------------------------------------------------X

       Anthony Barberan,                                                            19-cv-10983-VR
                                                   Plaintiff,                     OPINION & ORDER



                        -against-

       Town of Eastchester et al.,

                                          Defendants.

       -----------------------------------------------------------------X

       VICTORIA REZNIK, United States Magistrate Judge:1

       Plaintiff Anthony Barberan sues Defendants Town of Eastchester, Timothy

Bonci, and Jeffrey Hunter, seeking to recover for harms he suffered when he was

terminated from the Town of Eastchester Police Department in 2021. (ECF No. 1).

On September 13, 2022, the parties consented to jurisdiction before a Magistrate

Judge for all purposes, under 28 U.S.C. § 636(c). (ECF No. 70). Defendants now

move for summary judgment. (ECF No. 111). For the reasons below, the motion is

GRANTED.




1 On September 13, 2022, the parties consented to proceed before a Magistrate Judge (ECF No. 70)

and this action was assigned to Magistrate Judge Andrew E. Krause. On September 6, 2024, this
action was reassigned to the undersigned.


                                                           1
       Case 7:19-cv-10983-VR           Document 126        Filed 03/31/25      Page 2 of 54




                                I.      FACTUAL BACKGROUND2

       Plaintiff began working for the Town of Eastchester Police Department (“the

Department”) on July 16, 2012. (ECF Nos. 113 at ¶ 36; 119 at ¶ 36). He then

allegedly completed field training and his probationary period with no issues,

causing him to obtain civil service status. (ECF Nos. 112-9 at 29–30; 119 at 57–58

¶¶ 14–19). Between July 2012 and July 2014, Plaintiff had no major disciplinary

issues, the only instances of an infraction came from failing to wear his officer’s hat

while out on patrol. (ECF Nos. 113 at ¶¶ 37–47; 119 at ¶¶ 37–47).

       A. July 2014 - Disciplinary Action Re Contraband

       On July 16, 2014, Plaintiff was investigated for violating multiple provisions

of the Department’s employee manual when he failed to locate contraband during a

search incident to a lawful arrest. (ECF Nos. 112-34; 113 at ¶¶ 55–60; 119 at ¶¶ 55–

60). Four days earlier, Plaintiff had placed an arrestee into a cell and failed to

remove his belt or locate a razor blade on his person. (ECF Nos. 113 at ¶¶ 55–60;

119 at ¶¶ 55–60). The arrestee’s possession of a razor blade does not appear to have

resulted in any injuries to himself or others, as it was discovered less than 24 hours

after his initial placement in the cell when a different officer searched the arrestee

after he was arraigned. (ECF Nos. 112-32 at 2; 113 at ¶ 57; 119 at ¶ 57).




2 The following facts are drawn from each of the parties’ Rule 56.1 Statements of Material Facts,

along with their supporting affidavits and exhibits. (ECF Nos. 113 [Defendants] and 119 [Plaintiff]).
                                                      2
       Case 7:19-cv-10983-VR         Document 126        Filed 03/31/25      Page 3 of 54




       Plaintiff entered into a settlement agreement with the Department to resolve

the investigation, in which he plead guilty to violating three provisions of the

manual. (ECF No. 112-34). The agreement provided that any further instances of

similar misconduct would result in additional disciplinary charges that could result

in termination of his employment. (ECF Nos. 112-34; 113 at ¶¶ 61–62; 119 at

¶¶ 61–62). He was then placed on a remedial training plan for approximately two

months. (ECF Nos. 113 at ¶ 63; 119 at ¶ 63).

       B. September 2015 – Hunter’s Alleged Comments

       In September 2015, Plaintiff met with Defendant Hunter, a Lieutenant with

the Department, to discuss video of a traffic stop Plaintiff conducted one month

earlier. (ECF Nos. 112-12 at 86–87; 113 at ¶¶ 79–84; 119 at ¶¶ 79–84). At the

meeting, Hunter allegedly criticized Plaintiff for using informal slang when he

spoke to the teenagers in the vehicle. (ECF No. 119 at 59 ¶¶ 26–27).3 Hunter also

allegedly stated that Plaintiff’s “Yonkers ghetto doesn’t add up to my Eastchester

professional,” and proceeded to show Plaintiff a video of a Black hip-hop artist with

dreadlocks dressed in baggy clothes and chains, and displaying underwear to

demonstrate how Plaintiff presented himself. (Id. at 59 ¶¶ 29–30). Hunter allegedly




3 In ECF No. 119, Plaintiff responded to each of the numbered paragraphs included by Defendants in

their Rule 56.1 Statement of Undisputed Material Facts, (ECF No. 113), but he also included
additional numbered paragraphs at the end of his response. These additional paragraphs,
confusingly, restarted the paragraph numbering scheme. To avoid confusion between the paragraphs
from Defendants’ Rule 56 statement and the additional, renumbered ones in Plaintiff’s response,
citations to the renumbered paragraphs will include the associated page number from Plaintiff’s
response.
                                                    3
      Case 7:19-cv-10983-VR      Document 126      Filed 03/31/25   Page 4 of 54




continued making disparaging comments to Plaintiff that “this is what Yonkers

does” and “this is how Yonkers trains its men.” (Id. at 59 ¶ 33). At his deposition,

Hunter denied making any of the above statements or showing Plaintiff a video of a

Black artist. (ECF No. 112-12 at 86–88).

      C. 2015 – Plaintiff’s Remedial Training Plan

      Plaintiff was then placed on a second remedial training plan for two months,

after his supervisors determined that he needed to improve his professionalism and

skills related to vehicle traffic stops, vehicle searches, and pat-down searches. (ECF

Nos. 112-38; 113 at ¶¶ 79–98; 119 at ¶¶ 79–98). Plaintiff received two performance

reviews for the 2015 calendar year. (ECF Nos. 112-31, 41). In one review, 21 of the

22 categories were marked as “Meets Standard,” with just one category regarding

the accuracy and completeness of forms marked as “Requires Improvement.” (ECF

No. 112-41). The review also included a notation that Plaintiff was “eager to

improve and be more active.” (Id. at 17). In the other review, 14 of the 22 categories

were marked as meeting the requisite standards. (ECF No. 112-31). The remaining

categories, which included, among other things, “Acceptance of Direction,”

“Acceptance of Responsibility,” and “Productivity,” were marked as needing

improvement. (Id.). The second review contained notations that Plaintiff lacked

maturity, needed to improve his attitude, and act less negative. (Id. at 15–16).

      Based on those performance reviews, Plaintiff was placed on a performance

improvement plan by Defendant Bonci, Chief of the Department. (ECF Nos. 112-42;

113 at ¶ 109; 119 at ¶ 109). Under the improvement plan, Plaintiff was scheduled to
                                              4
      Case 7:19-cv-10983-VR      Document 126     Filed 03/31/25   Page 5 of 54




work shifts during the day that differed from his then-current schedule. (ECF No.

112-42). Over the duration of his improvement plan, Plaintiff was found to have

failed to meet expectations. (ECF Nos. 113 at ¶¶ 113–15; 119 at ¶¶ 113–15).

      D. October 2016 – Accidental Taser Discharge

      Shortly thereafter, Plaintiff was placed on a remedial training plan for a

third time in October 2016, after he accidentally discharged a taser in the

Department’s locker room. (ECF Nos. 112-46; 113 at ¶¶ 116–20; 119 at ¶¶ 116–20).

Plaintiff obtained a taser from a secured locker to perform a daily test and ensure

the taser functioned properly. (ECF No. 112-10 at 97–99; 112-46 at 3–4). While

alone in the room, he pulled the trigger and the weapon discharged while it was

pointed at the ground, because he failed to realize that it was already armed with

live cartridges. (ECF Nos. 112-10 at 97–101; 112-46 at 3–4; 113 at ¶ 117; 119 at

¶ 117). A supervisor interviewed him about the incident after it happened, and

Plaintiff confirmed that he failed to notice the taser was armed before he discharged

it. (ECF Nos. 112-10 at 101–02; ECF No. 112-46 at 3–4). Roughly one month after

the incident, he received remedial training on taser procedures. (ECF Nos. 112-46

at 3–4; 113 at ¶ 120; 119 at ¶ 120).

      E. February 2018 – Plaintiff’s Denied Assignment Requests

      As alleged in Plaintiff’s Second Amended Complaint, in February 2018,

Plaintiff allegedly applied for an assignment on the Department’s drug task force,

after a coworker suggested he apply. (ECF No. 75 at ¶¶ 126–28; 119 at 84 ¶¶ 251–



                                             5
       Case 7:19-cv-10983-VR            Document 126         Filed 03/31/25      Page 6 of 54




52).4 But on March 27, 2018, he was purportedly notified that he was not selected

for that assignment but received no rationale for the determination, while other

Caucasian coworkers were selected instead. (ECF Nos. 75 at ¶¶ 139–43; 119 at 84

¶¶ 254). At roughly the same time, Plaintiff allegedly requested an assignment to

the traffic car unit. (ECF No. 75 at ¶ 145). That request was also allegedly denied,

with the assignments being given to other, Caucasian coworkers. (Id. at ¶¶ 148–49).

        F. Plaintiff’s August 2018 Letter and December 2018 EEOC Charge

        On August 28, 2018, Plaintiff purportedly retained counsel and sent a letter

to Bonci complaining about the discrimination he suffered at the Department. (ECF

No. 117-21). Plaintiff then filed a charge against the Department with the Equal

Employment Opportunity Commission (“EEOC”) in December 2018, in which he

checked the boxes for race discrimination, retaliation, and continuing action. (ECF

Nos. 112-7; 113 at ¶ 7; 119 at ¶ 7). He alleged that Lieutenant Hunter criticized him

“for not acting as he believes a Caucasian officer should” (ECF No. 112-7 at 4) and

that he was “discriminated against based upon his failure to conform to racial

stereotypes, and retaliated against for his complaints of discrimination.” (Id. at 3).

His charge referred to Hunter’s alleged comments about the “Yonkers ghetto” and

Plaintiff behaving like a Black hip-hop artist, Plaintiff’s remedial training plan and

his related complaints to supervisors, and his failure to be selected for the drug task



4 In his opposition papers, Plaintiff contends that not being assigned to the drug task force or the

traffic car unit were adverse employment actions he suffered. (ECF No. 118 at 15). But he only
addresses the drug task force assignment in his response to Defendants’ Rule 56.1 statement; he
does not mention the traffic car unit. (ECF No. 119)
                                                       6
      Case 7:19-cv-10983-VR       Document 126      Filed 03/31/25    Page 7 of 54




force and traffic car unit. (Id. at 3–12). He failed to identify his race or Hispanic

national origin but did state that he was “raised in an underprivileged, racially

diverse neighborhood in Yonkers.” (Id.). The EEOC then provided him with a letter

stating that it was “unable to conclude that the information obtained establishe[d]

violations of the statute,” but he was informed that he had a right to sue

Defendants. (ECF 112-23).

      G. October 2019 – Second Disciplinary Action re Contraband

      Plaintiff failed again to locate contraband in an arrestee’s possession in July

2019. (ECF Nos. 112-14; 113 at ¶¶ 121–28; 119 at ¶¶ 121–28). He failed to discover

a bandana before placing the arrestee into a holding cell, which the arrestee later

used in an attempted suicide by hanging. (ECF Nos. 112-14; 113 at ¶¶ 122, 125; 119

at ¶¶ 122, 125). An investigation occurred, during which Plaintiff admitted that he

failed to search the arrestee. (ECF Nos. 112-14 at 4–5; 113 at ¶ 125; 119 at ¶ 125).

After the investigation was complete, the Department proposed that Plaintiff lose

three vacation days as a penalty for violating Department rules, and Plaintiff

accepted the proposal in October 2019. (ECF Nos. 75 at ¶¶ 192–197; 112-14 at 6).

      H. March 2021 – Plaintiff’s Second EEOC Charge

      Plaintiff filed a second charge with the EEOC on March 26, 2021, which

mirrored his initial charge—he checked the boxes for race discrimination and

retaliation and identified the discrimination as a continuing action. (ECF Nos. 112-

8; 113 at ¶ 16; 119 at ¶ 16). The second charge included two attachments, a copy of

Plaintiff’s first amended complaint and a news article. (ECF No. 112-8 at 34–92).
                                               7
      Case 7:19-cv-10983-VR      Document 126      Filed 03/31/25     Page 8 of 54




But he did not check the box for national origin discrimination and he again failed

to explicitly state that he was Hispanic. Plaintiff’s first amended complaint

(described more fully below), made no mention of being Hispanic and alleged that

he was Caucasian and discriminated against because of “his failure to conform to

racial stereotypes.” (ECF No. 24 at ¶¶ 1, 5). The only mention of his Hispanic

national origin came in the annexed news article, which identified him as “a

Hispanic Eastchester police officer who has a pending discrimination litigation”

against Defendants. (ECF No. 112-8 at 91). But the EEOC never issued a ruling

related to this second charge. (ECF Nos. 113 at ¶ 16; 119 at ¶ 16).

      I. November 2021 – Third Disciplinary Action and Termination

      Over one year after Plaintiff filed his original complaint in this Court and

this litigation was pending, Plaintiff was investigated for a third instance of failing

to properly search an arrestee. Plaintiff and an Officer Guerriero, one of his

coworkers who began working for the Department in January 2020 (ECF No. 112-

17 at 8), responded to a vehicular accident. (ECF Nos. 113 at ¶¶ 132–35; 119 at

¶¶ 132–35). While at the accident scene, Plaintiff handcuffed the driver and placed

him in the police car before searching him. (ECF Nos. 113 at ¶¶ 132–40; 119 at

¶¶ 132–40). Plaintiff then searched a satchel in the driver’s possession and found

drugs. (ECF Nos. 113 at ¶¶ 141–43; 119 at ¶¶ 141–43). When Plaintiff and

Guerriero placed the driver into a holding cell, they failed to search the driver, and

it was eventually revealed that the driver possessed additional drugs on his person.

(ECF Nos. 113 at ¶¶ 146–50; 119 at ¶¶ 146–50).
                                               8
      Case 7:19-cv-10983-VR      Document 126      Filed 03/31/25    Page 9 of 54




      Following that incident, a formal investigation was launched by the

Department, and it was determined that Plaintiff’s actions during that arrest

violated several Department rules. (ECF Nos. 113 at ¶¶ 150–58; 119 at ¶¶ 150–58).

Plaintiff received one charge of insubordination and one charge of incompetence,

which resulted in a formal disciplinary hearing lasting about four days. (ECF Nos.

113 at ¶¶ 159, 164; 119 at ¶¶ 159, 164). Over the course of the hearing, the Hearing

Officer heard testimony from several witnesses, including Plaintiff, and viewed

video evidence of the arrest. (ECF Nos. 113 at ¶ 165; 119 at ¶ 165). The Hearing

Officer found that Plaintiff violated departmental rules and recommended

terminating his employment. (ECF Nos. 113 at ¶¶ 168–72; 119 at ¶¶ 168–72).

Defendant Town of Eastchester (“the Town”) adopted the Hearing Officer’s

recommendation and terminated Plaintiff’s employment in November 2021. (ECF

Nos. 113 at ¶ 173; 119 at ¶ 173).

      J. Procedural History

             a. November 2019 – Plaintiff’s Original Complaint

      Shortly after Plaintiff’s disciplinary action in October 2019, Plaintiff

commenced this action (on November 27, 2019) against Defendants in the Southern

District of New York. (ECF No. 1). In his complaint, he asserted causes of action for

discrimination and retaliation in violation of Title VII of the Civil Rights Act of

1964, 42 U.S.C. §§ 1981 and 1983, and the New York State Human Rights Law

(“N.Y.S.H.R.L.”). (Id. at 19–25). He alleged, among other things, that he was



                                               9
     Case 7:19-cv-10983-VR       Document 126      Filed 03/31/25   Page 10 of 54




Caucasian, discriminated against because of “his failure to conform to racial

stereotypes,” and retaliated against “for complaining of discrimination.” (Id. at 1).

              b. March 2020 – Plaintiff’s First Amended Complaint

      Plaintiff amended his complaint in March 2020, but realleged that he was

Caucasian, discriminated against by Defendants for “his failure to conform to racial

stereotypes,” and retaliated against by Defendants for complaining about his

discrimination. (ECF No. 24 at ¶¶ 1, 5). Defendants then moved under Rule 12(b)(6)

of the Federal Rules of Civil Procedure to dismiss the amended complaint for its

failure to state a claim. (ECF No. 28). Defendants argued, among other things, that

Plaintiff’s Title VII and N.Y.S.H.R.L. claims should be dismissed because they were

time-barred, as many of the factual allegations underlying the claims involved a

timeframe outside the 300-day window required to file EEOC charges. (ECF No. 30

at 14–15). They also argued that Plaintiff’s Section 1983 claim should be dismissed

as time-barred because it relied on incidents that occurred outside the three-year

statute of limitations. (Id. at 15). Lastly, in their reply papers, they contended that

Plaintiff failed to exhaust his Title VII discrimination claim because his EEOC

charge failed to mention his October 2019 penalty for lost vacation days. (ECF No.

35 at 8–9).

      By order entered March 22, 2021, Defendants’ motion was partially granted

and Plaintiff’s Section 1981 claims were dismissed. (ECF No. 38). But Plaintiff’s

Title VII, Section 1983, and N.Y.S.H.R.L. claims survived dismissal. (Id.). At a


                                              10
      Case 7:19-cv-10983-VR           Document 126        Filed 03/31/25      Page 11 of 54




hearing on April 7, 2021, Judge Briccetti issued a ruling from the bench setting

forth his rationale supporting the March 22nd order. (ECF No. 52). Among other

things, he was “not persuaded” by Defendants’ argument that claims were time-

barred and declined to address their argument about exhaustion because they were

raised for the first time in Defendants’ reply papers. (ECF No. 52 at 4–5).

               c. October 2022 – Plaintiff’s Second Amended Complaint

       In October 2022, Plaintiff amended his complaint for a second time. (ECF No.

75).5 In his second amended complaint, he alleged that he was “of Hispanic descent”

and removed his prior allegation that he was Caucasian (id. at ¶ 3), but he

reasserted causes of action under Title VII, Section 1983, and the N.Y.S.H.R.L. for

discrimination and retaliation. (ECF No. 75 at 30–50). As for discrimination, he

alleged that he suffered three adverse employment actions because of

discrimination: (1) he was denied assignments to the drug task force and traffic car

unit in March 2018, (2) he was penalized with lost vacation days in October 2019,

and (3) he was terminated in November 2021. (ECF Nos. 75 at 30–50). He did not

explicitly allege that he was discriminated against based on his national origin—

being Hispanic of Ecuadorian descent—but his allegations centered on the fact that

he was raised in Yonkers, New York, and that he failed to conform to the racial




5 The parties stipulated to the filing of a second amended complaint (ECF Nos. 112-6; 113 at ¶ 19;

119 at ¶ 19). As part of the stipulation, Defendants agreed that Plaintiff could amend his complaint
for a second time and Plaintiff agreed that he would not file a third charge with the EEOC or amend
his complaint to add a Title VII claim related to the termination of his employment. (ECF No. 112-6).
The stipulation was then so-ordered by the Court in January 2022. (Id.).
                                                     11
      Case 7:19-cv-10983-VR          Document 126         Filed 03/31/25     Page 12 of 54




stereotypes of a Caucasian officer. (Id. at ¶¶ 244–46, 266–67, 296–97, 329–30). With

respect to retaliation, he alleged that he engaged in protected activity by

complaining to the Department in August 2018 and primarily suffered two adverse

employment actions thereafter when he was disciplined in October 2019 and

terminated in November 2021.6 (Id. at 32–33).

       Defendants now move for summary judgment dismissing the second amended

complaint, (ECF No. 111), which Plaintiff opposes. (ECF No. 118).

                                    II.     LEGAL STANDARD

       Summary judgment is appropriate “if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” FED. R. CIV. P. 56(a). A fact is material under Rule 56 where it

“might affect the outcome of the suit under the governing law.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986).7 A dispute about a material fact is “genuine”

when “the evidence is such that a reasonable jury could return a verdict for the

nonmoving party.” Id.8 In determining whether the moving party has met its

burden of proving that there are no genuine disputes of material fact, the Court

must resolve all ambiguities and draw all factual inferences for the party opposing

the motion. See Union Mut. Fire Ins. Co. v. Ace Caribbean Mkt., 64 F.4th 441, 445



6 Plaintiff also alleged that he suffered adverse employment actions when he, among other things,

was not allowed to participate in a community outreach program in October 2018, manage the
Department’s social media account in September 2018, or display a Christmas tree in the office in
December 2018. (ECF No. 75 at 41–42).
7 See also Red Tree Invs., LLC v. Petróleos de Venez., S.A., 82 F.4th 161, 170 (2d Cir. 2023).
8 See also Red Tree Invs., 82 F.4th at 170.

                                                    12
      Case 7:19-cv-10983-VR            Document 126         Filed 03/31/25      Page 13 of 54




(2d Cir. 2023). “Assessments of credibility and choices between conflicting versions

of the events are matters for the jury, not for the court on summary judgment.”

Jeffreys v. City of New York, 426 F.3d 549, 553 (2d Cir. 2005) (internal quotation

marks and citations omitted).9

        “When the nonmoving party bears the burden of proof at trial, summary

judgment is warranted if the nonmovant fails to make a showing sufficient to

establish the existence of an element essential to its case.” Nebraska v. Wyoming,

507 U.S. 584, 590 (1993) (alteration, internal quotation marks, and citation

omitted). Thus, “[a] defendant moving for summary judgment must prevail if the

plaintiff fails to come forward with enough evidence to create a genuine factual

issue to be tried with respect to an element essential to its case.” Allen v. Cuomo,

100 F.3d 253, 258 (2d Cir. 1996).

        Yet summary judgment must be denied if the Court finds “there are any

genuine factual issues that properly can be resolved only by a finder of fact because

they may reasonably be resolved in favor of either party.” Anderson, 477 U.S. at

250. Summary judgment is also appropriate when the movant submits undisputed

evidence “that negates an essential element of the non-moving party’s claim.” Nick’s

Garage, Inc. v. Progressive Cas. Ins. Co., 875 F.3d 107, 114 (2d Cir. 2017) (internal

quotation marks and citations omitted).




9 See also Wiggins v. Griffin, 86 F.4th 987, 995 (2d Cir. 2023) (per curiam).

                                                       13
     Case 7:19-cv-10983-VR       Document 126      Filed 03/31/25   Page 14 of 54




                                    III.   DISCUSSION

      A. Statute of Limitations

      Defendants first argue that the statute of limitations bars many of Plaintiff’s

allegations, which include alleged discriminatory treatment between 2014 and

2017. (ECF No. 114 at 12). According to Defendants, Plaintiff’s Title VII claims

cannot be based on any alleged adverse employment actions that occurred before

February 2018, because such conduct is outside the 300-day window created by the

filing of his first EEOC complaint in December 2018. (Id. at 12–13). They also argue

that no factual allegations of conduct before November 27, 2016, can support his

Section 1983 and NYSRHL claims, because those allegations are outside the

permissible three-year statute of limitations for those causes of actions. (Id.).

      In response, Plaintiff argues that none of his claims are time-barred because

he was subjected to similar, ongoing discrimination, which allows conduct outside

the statute of limitations to be considered by the Court. (ECF No. 118 at 12). In

reply, Defendants maintain that Plaintiff’s claims are untimely because he failed to

“invoke a continuing violation theory in his first EEOC charge.” (ECF No. 124 at 6–

7). They maintain further that Plaintiff failed to allege a continuing violation

because he failed to identify a continuing discriminatory policy or custom, so his

allegations amount to discrete acts of discrimination. (Id.).

      Here, although not raised by either side, Defendants’ contentions are subject

to the law-of-the-case doctrine, as they were raised previously by Defendants in

support of their motion to dismiss the first amended complaint, (ECF No. 30 at 5–
                                              14
     Case 7:19-cv-10983-VR       Document 126       Filed 03/31/25   Page 15 of 54




8), and addressed by Judge Briccetti in his bench ruling in April 2021. (ECF No. 52

at 5). In articulating his rationale for denying the portions of Defendants’ motion to

dismiss, Judge Briccetti stated he was “not persuaded” by their statute of

limitations arguments and noted that Defendants provided no authority to support

their propositions. (Id.). He emphasized that Plaintiff’s alleged adverse employment

actions occurred within the statute of limitations, which was sufficient for Plaintiff

to sustain his discrimination claims. (Id.).

      “When a court has ruled on an issue, that decision should generally be

adhered to by that court in subsequent stages in the same case.” JLM Couture, Inc.

v. Gutman, 91 F.4th 91, 101 (2d Cir. 2024) (internal quotation marks and citation

omitted). The law-of-the-case doctrine is not binding and “does not preclude this

Court from reconsidering issues on summary judgment that have initially been

raised in the context of a motion to dismiss.” Nobel Ins. Co. v City of New York, No.

00-CV-1328 (KMK), 2006 WL 2848121, at *4 (S.D.N.Y. Sept. 29, 2006). But it

counsels against doing so “absent cogent and compelling reasons such as an

intervening change of controlling law, the availability of new evidence, or the need

to correct a clear error or prevent manifest injustice.” Loomis Sayles Tr. Co., LLC v.

Citigroup Glob. Mkts., Inc., No. 22 Civ. 6706 (LGS), 2024 WL 4307775, at *2

(S.D.N.Y. Sept. 26, 2024) (internal quotations marks and citations omitted).

      Defendants fail to identify any change in the law, clear error by Judge

Briccetti, or manifest injustice that would warrant revisiting these issues from the

motion to dismiss. Indeed, they cite no case law for the proposition that evidence of
                                               15
     Case 7:19-cv-10983-VR      Document 126      Filed 03/31/25   Page 16 of 54




discriminatory animus must all take place within the statute of limitations period

to be considered. And they fail to explain how new evidence obtained during

discovery would address the question of law regarding whether any of Plaintiff’s

factual allegations were time-barred. Thus, there is no reason for this Court to

reevaluate these contentions on summary judgment. See Fezzani v. Bear, Stearns &

Co. Inc., No. 99 Civ. 0793 (PAC), 2023 WL 2612454, at *3 (S.D.N.Y. Mar. 23, 2023)

(affirming application of law-of-the-case doctrine by Magistrate Judge because

question previously decided was question of law).

      B. Exhaustion/Jurisdiction

      Defendants also argue that Plaintiff’s Title VII discrimination claims must be

dismissed because his previous EEOC charges failed to allege national origin

discrimination and mention his Hispanic heritage, both of which he asserted in his

second amended complaint and in opposition to Defendants’ summary judgment

motion. (ECF No. 114 at 13). Plaintiff argues in opposition that his Title VII claims

may proceed because his allegations allow for the conclusion that a national origin

discrimination claim could be reasonably expected to grow out of the discrimination

charges contained in his EEOC charges. (ECF No. 118 at 12–13).

      “A district court only has jurisdiction to hear claims which are either raised

in the EEOC charge, or are ‘reasonably related’ to the EEOC charges.” Burrell v.

City Univ. of N.Y., 995 F. Supp. 398, 407–08 (2d Cir. 1998) (quoting Butts v. City of

N.Y. Dept. of Hous., 990 F.2d 1397, 1402 (2d Cir. 1993)). A claim is reasonably

related to an EEOC charge when an EEOC investigation of that charge could lead
                                             16
     Case 7:19-cv-10983-VR       Document 126       Filed 03/31/25   Page 17 of 54




the EEOC to discover that the plaintiff was alleging the type of discrimination

identified in the complaint. See Faktorovich v. Mem’l Sloan-Kettering Cancer Ctr.,

578 F. App’x 41, 42 (2d Cir. 2014). Thus, the agency receives adequate notice to

investigate discrimination on that other bases. See id.; Deravin v. Kerik, 335 F.3d

195, 201 (2d Cir. 2003). In making that determination, the focus is on the

“substance of the charge,” i.e., the factual allegations contained within the four

corners of the EEOC charge itself. Alonzo v. Chase Manhattan Bank, N.A., 25 F.

Supp. 2d 455, 458 (S.D.N.Y. 1998); see Deravin, 335 F.3d at 201 (explaining that

“the focus should be on the factual allegations made in the EEOC charge itself,

describing the discriminatory conduct about which a plaintiff is grieving” (internal

quotation marks, brackets, and citations omitted)). Thus, “[c]ourts generally do not

find a claim that is based on a wholly different type of discrimination to be

reasonably related to those initially asserted in the EEOC charge.” Burrell, 995 F.

Supp. at 407.

      Plaintiff fails to demonstrate that the EEOC had adequate notice of his

claims of national origin discrimination. A rational finder of fact could not conclude

that an EEOC investigation of his EEOC charges would lead the EEOC to conclude

that he was also alleging national origin discrimination based on being Hispanic.

Neither of his EEOC charges include the words “national origin.” (ECF Nos. 112-7,

8). Even so, that fact is not necessarily dispositive or fatal to his discrimination

claims. Rather, it simply places more emphasis on his claim’s factual

underpinnings. See Akhtar v. Saudia, No. 19 CV 03763-LTS-DCF, 2021 WL
                                               17
     Case 7:19-cv-10983-VR      Document 126        Filed 03/31/25   Page 18 of 54




1758807, at *4–6 (S.D.N.Y. May 4, 2021) (concluding plaintiff’s claims of national

origin discrimination were administratively exhausted despite EEOC charge not

explicitly mentioning “the actual words ‘national origin’ within the factual

narrative”).

      But neither of Plaintiff’s EEOC charges include statements that he is

Hispanic or of Hispanic descent. (ECF Nos. 112-7, 8). And in his second EEOC

charge, he annexed his initial complaint from this action, which explicitly states

that he is Caucasian, does not mention national origin, and includes no mention

that he is Hispanic or of Hispanic descent. (ECF No. 112-8 at 38–90; see id. at 37).

The only reference at all to Plaintiff being Hispanic comes in a newspaper article

annexed to his second EEOC charge, where he is described as a “Hispanic

Eastchester police officer,” (ECF No. 112-8 at 91), but the EEOC never ruled on that

charge. (ECF Nos. 113 at ¶ 16; 119 at ¶ 16).

      The factual allegations in his EEOC charges, instead, center around Plaintiff

being raised in Yonkers and not conforming to the way Defendants expected him to

act, which was Caucasian. He began his first EEOC charge by stating explicitly that

he was “raised in an underprivileged, racially diverse neighborhood in Yonkers” and

that Hunter criticized him “for not acting as he believes a Caucasian officer should.”

(ECF No. 112-7 at 3–4). He proceeded to mention Hunter’s alleged statement that

“being raised in Yonkers ‘wasn’t the best approach.’” (Id. at 4). The remainder of his

first EEOC charge detailed his conversations with Hunter that Plaintiff was

“Yonkers ghetto,” used too much slang, and didn’t carry himself properly, and
                                               18
         Case 7:19-cv-10983-VR        Document 126         Filed 03/31/25      Page 19 of 54




mentions the incident of Hunter showing Plaintiff a video of a Black hip-hop artist

to demonstrate how Plaintiff appeared and conducted himself. (Id. at 4–16). And the

factual contents of his second EEOC charge largely mirrored the first one, as a copy

of the first charge was annexed to his second submission. (ECF No. 112-8 at 16–

30).10

         But the factual allegations in these charges never connect the dots for the

EEOC to conclude that references to Yonkers were references to his Hispanic

national origin, which he never mentions. This is buttressed by the fact that the

EEOC’s letter to Plaintiff closing out its file failed to mention national origin

discrimination. (ECF No. 112-23). The same is true of his second EEOC charge.

There, he highlights census statistics, but the statistics all relate to the Black

population of Yonkers. (ECF No. 112-8 at 86). Nothing in the underlying facts

allows the EEOC to determine there were claims of national origin discrimination.

Cf. Akhtar, 2021 WL 1758807, at 4–6 (finding plaintiff of Pakistani-descent

exhausted national origin discrimination claims because she indicated “on at least

one page of the EEOC form that she was alleging employment discrimination on the

basis of her national origin” and “the factual underpinnings” of the allegations in

the EEOC charge supported that).




10 A copy of his first amended complaint, which alleged similar facts to his first EEOC charge, was

also annexed to his second EEOC charge. (ECF No. 112-8 at 34–90).
                                                     19
       Case 7:19-cv-10983-VR     Document 126      Filed 03/31/25   Page 20 of 54




       This Court recognizes that it should be cautious when analyzing whether

discrimination involves national origin or race because the line between them is

“difficult to trace,” id. at *4 (internal quotation marks and citations omitted), and

there is “uncertainty among courts as to whether ‘Hispanic’ is better characterized

as a race or a national origin.” Alonzo, 25 F. Supp. 2d at 460. It also recognizes that

“courts should not attempt to draw overly fine distinctions between race and

national origin claims as part of the threshold exhaustion inquiry . . . given the

potential overlap between the two forms of discrimination.” Deravin, 335 F.3d at

202.

       But this is not a case that turns on whether Plaintiff checked the wrong box

when characterizing himself as Hispanic. He never characterized himself as

Hispanic at all. Alonzo v. Chase Manhattan Bank, N.A., 25 F. Supp. 2d 455

(S.D.N.Y. 1998) presents a similar scenario with a defining difference. There, the

plaintiff only checked the box for national origin discrimination in his EEOC

charge, and failed to check the box for race discrimination. Id. at 458. But the

charge contained an explicit statement that the plaintiff was Hispanic and believed

he was discriminated against because he was Hispanic. Id. at 459. That direct

mention of Hispanic, combined with the uncertainty regarding whether Hispanic

amounts to race or national origin and the corresponding difficulty associated with

demarcating between race and national origin discrimination, caused the Court to

conclude that the plaintiff’s race discrimination claims were reasonably related to

his national origin claims. Id. at 459–60. Here, the substance of Plaintiff’s EEOC
                                              20
      Case 7:19-cv-10983-VR            Document 126         Filed 03/31/25      Page 21 of 54




charges lacks any mention of being Hispanic or being discriminated against based

on being Hispanic. Compare Dixit v. City of N.Y. Dep’t of Gen. Servs., 972 F. Supp.

730, 734–35 (S.D.N.Y. 1997) (finding race and national origin discrimination claims

reasonably related where plaintiff identified himself as an “Asian Indian,” a term

suggestive of both race and national origin, in his EEOC complaint).

        Thus, there is no way to conclude that the facts of the EEOC charges

sufficiently informed the EEOC that discrimination based on national origin was

“lurk[ing] in the background.” Alonzo, 25 F. Supp. 2d at 458. As a result, Plaintiff

has failed to exhaust his administrative remedies and his Title VII discrimination

claim must be dismissed. See Faktorovich, 578 F. App’x at 42 (affirming dismissal of

Title VII national origin discrimination claims because they were not reasonably

related to the claims of religious and disability discrimination in EEOC charge, as

EEOC charge of Jewish plaintiff failed to reference Belorussian national origin); cf.

Alonzo, 25 F. Supp. 2d at 460 (finding discrimination claim based on race exhausted

because plaintiff alleged discrimination claim based on national origin and

explicitly stated he was Hispanic).

        C. Plaintiff’s Discrimination Claims11

        Defendants argue that all of Plaintiff’s discrimination claims should be

dismissed because he cannot satisfy his initial burden under the McDonnell




11 Although the Court found that Plaintiff’s Title VII discrimination claims were not exhausted and

should be dismissed on that basis, this Section still analyzes whether Plaintiff satisfied his prima
facie burden on that claim, assuming it had been exhausted.
                                                      21
     Case 7:19-cv-10983-VR       Document 126       Filed 03/31/25   Page 22 of 54




Douglas test: (1) he is not a member of a protected class (ECF No. 114 at 15),

(2) was not qualified to be a police officer, (id. at 17–19), and (3) has no evidence of

discrimination. (Id. at 19–23). And even if Plaintiff could satisfy that initial burden,

Defendants argue that they had legitimate nondiscriminatory reasons for not

assigning him to the drug task force and traffic car unit, disciplining him, and

terminating his employment. (Id. at 22–23).

      Plaintiff argues in opposition that he has satisfied his initial burden. He is a

member of a protected class because his father is from Ecuador and he is Hispanic

(ECF No. 118 at 14). He was qualified for the position because he “met the

minimum qualifications to serve as a police officer” after graduating from the

academy and passing his probationary period. (Id. at 15). He suffered adverse

actions when he was not selected for the drug task force and traffic car unit, forced

to forfeit vacation days, and terminated. (Id.). And the circumstances gave rise to

discrimination based on his national origin. (Id.).

      Claims of discrimination under Title VII, 42 U.S.C. § 1983, and the

N.Y.S.H.R.L. are all subjected to the burden-shifting framework set forth in

McDonnell Douglas Corp. v. Green, 412 U.S. 792 (1973). See Littlejohn v. City of

New York, 795 F.3d 297, 312 (2d Cir. 2015). Under that framework, the plaintiff

“must first show that (1) she is a member of a protected class; (2) she is qualified for

her position; (3) she suffered an adverse employment action; and (4) the

circumstances give rise to an inference of discrimination.” Kirkland-Hudson v.

Mount Vernon City Sch. Dist., 665 F. Supp. 3d 412, 449 (S.D.N.Y. 2023) (quoting
                                               22
     Case 7:19-cv-10983-VR        Document 126     Filed 03/31/25   Page 23 of 54




Weinstock v. Columbia Univ., 224 F.3d 33, 42 (2d Cir. 2000)). If the plaintiff makes

his or her showing successfully, the burden shifts to the defendant “to demonstrate

a legitimate, [nondiscriminatory] purpose for the adverse employment action.”

Kirkland-Hudson, 665 F. Supp. 3d at 449. Upon a successful showing by the

defendant, the burden returns to the plaintiff to demonstrate by a preponderance of

the evidence that the nondiscriminatory reason supplied by the defendant was a

pretext for discrimination. Id.

      “Summary judgment is appropriate even in discrimination cases,” Weinstock

v. Columbia Univ., 224 F.3d 33, 41 (2d Cir. 2000), cert. denied, 540 U.S. 811 (2003),

but “additional considerations” must be considered. Desir v. City of New York, 453

F. App’x 30, 33 (2d Cir. 2011). A trial court must scrutinize the evidence presented

“for circumstantial proof which, if believed, would show discrimination.” Id.

(internal quotation marks and citation omitted). When analyzing each element of

the McDonnell Douglas burden-shifting framework, there “must be a determination

of whether the proffered admissible evidence . . . would be sufficient to permit a

rational finder of fact” to conclude that the element was satisfied. LaFond v. Gen.

Physic Servs. Corp., 50 F.3d 165, 173 (2d Cir. 1995) (internal quotation marks and

citations omitted). “[I]t is not within the province of the trial court at the summary

judgment stage to resolve ambiguities” and “decide what inferences should be

drawn.” Id. at 173–74 (internal quotation marks and citations omitted).

      The Court addresses each of the four elements in turn.

             1. Whether Plaintiff is a Member of a Protected Class
                                              23
      Case 7:19-cv-10983-VR           Document 126        Filed 03/31/25       Page 24 of 54




       Plaintiff alleges that he is a member of a protected class, because he is of

Ecuadorian descent and Hispanic. (ECF Nos. 75 at ¶ 23; 112-9 at 50). Defendants

express skepticism, given that Plaintiff’s EEOC charges never mention that he is

Hispanic, his original and first amended complaints only mention that he is

Caucasian, and other documents in the record appear to report Plaintiff as

Caucasian/White and non-Hispanic. (ECF No. 114 at 15). But Defendants’

skepticism does not warrant a finding that there is no genuine issue of material fact

about Plaintiff’s Hispanic national origin.

       Plaintiff testified about his Hispanic background and the fact that his father

was born in Ecuador. (ECF No. 112-9 at 51). His second amended complaint, which

is the operative complaint here, alleges that he is Hispanic. (ECF No. 75 at ¶ 23).

Documents in the record include one instance in which Plaintiff is identified as

Hispanic, although most do not. (ECF Nos. 1 at ¶ 15; 24 at ¶ 27; 112-25 at 2; 112-26

at 2–5). And courts are uncertain about whether Hispanic is better viewed as a race

or as a national origin, see Alonzo, 25 F. Supp. 2d at 459–60, which supports

Plaintiff’s argument that one can identify as Caucasian (by race) and also Hispanic

(by national origin). (ECF No. 118 at 13–14).12




12 The Court also takes judicial notice of the fact that the 2020 Census Informational Questionnaire

lists separate questions for national origin and race, thereby allowing a person to check the box for
Hispanic national origin while also checking the box for White race. See Decennial Census of
Population and Housing Questionnaires & Instructions, United States Census Bureau,
https://www.census.gov/programs-surveys/decennial-census/technical-
documentation/questionnaires.2020_Census.html; United States v. Style, 771 F. App’x 43, 43 (2d Cir.
2019) (taking judicial notice of fact from United States Census Bureau). This adds additional support
to Plaintiff’s contention that he is a White Hispanic.
                                                     24
     Case 7:19-cv-10983-VR       Document 126      Filed 03/31/25    Page 25 of 54




      Thus, for purposes of summary judgment, Plaintiff has proffered sufficient

evidence to allow a rational finder of fact to conclude that he is a member of a

protected class because he is Hispanic of Ecuadorian descent, thereby satisfying his

prima facie burden on this element. See Gurjar v. Norwood Bd. of Educ., No. 2:16-

cv-1168 (SDW)(SCM), 2018 WL 1634398, at *5 n.10 (D.N.J. Apr. 5, 2018) (denying

summary judgment after concluding question of fact existed regarding whether

plaintiff was member of protected class); see also Velez v. Project Renewal, No. 02

Civ. 3084(AKH), 2003 WL 402500, at *3 (S.D.N.Y. Feb. 20, 2003) (holding that

plaintiff was member of protected class because he was “a Hispanic of Puerto Rican

descent”). Defendants may view this as “dubious” and argue facts to the contrary,

but that at most raises a question of fact for the jury to decide.

             2. Whether Plaintiff is Qualified for the Position

      Next, Defendants argue that Plaintiff cannot meet his prima facie burden to

show that he was qualified for the position of police officer because “he proved to be

a danger and a liability to the community, and his termination came after he

received countless chances to correct his conduct.” (ECF No. 114 at 17). Defendants

largely reiterate the evidence of Plaintiff’s performance record, remedial training,

and disciplinary actions, which they believe justified Plaintiff’s termination. (Id. at

9–11). In response, Plaintiff argues that he was qualified to be a police officer,

because he “plainly met the minimum qualifications to serve as a police officer.”

(ECF No. 118 at 15). For example, Plaintiff passed a written exam for a different,

nearby police department, graduated from the police academy, completed his
                                              25
     Case 7:19-cv-10983-VR        Document 126      Filed 03/31/25    Page 26 of 54




probationary period with the Department, and earned civil service status. (ECF No.

112-9 at 28, 40).

       To demonstrate that he was qualified for his position with the Department,

Plaintiff only needs to show that he possessed “the basic skills necessary for

performance of the job.” Owens v. N.Y.C. Hous. Auth., 934 F.2d 405, 409 (2d Cir.

1991) (internal quotation marks, brackets, and citation omitted), cert. denied, 502

U.S. 964 (1991). This showing has been described as “minimal.” Id. He need not

show that his job performance was “flawless or superior.” de la Cruz v. N.Y.C. Hum.

Res. Admin. Dep’t of Soc. Servs., 82 F.3d 16, 20 (2d Cir. 1996). “[A]ll that is required

is that the plaintiff establish basic eligibility for the position at issue, and not the

greater showing that he satisfies the employer.” Slattery v. Swiss Reinsurance Am.

Corp., 248 F.3d 87, 92 (2d Cir. 2001), cert. denied, 534 U.S. 951 (2001). In cases

involving termination, where the employer has already hired the employee, “the

inference of minimal qualification is not difficult to draw,” id., because the employer

has already demonstrated that the employee is minimally qualified. Gregory v.

Daly, 243 F.3d 687, 696–97 (2d Cir. 2001). And that inference is only strengthened

when the employer retained the plaintiff for a long time. Id.

       Defendants’ arguments that Plaintiff’s poor performance shows he was not

qualified are not entirely off-base. “There are circumstances in which a plaintiff’s

performance is so manifestly poor as to render her unqualified for continued

employment and thereby defeat her prima facie case.” Forbes v. Tri-County Care,

LLC, No. 21 Civ. 01366 (JHR), 2025 WL 743945, at *7 (S.D.N.Y. Mar. 7, 2025)
                                               26
     Case 7:19-cv-10983-VR       Document 126      Filed 03/31/25    Page 27 of 54




(internal quotation marks and citations omitted). And an “extensive disciplinary

history” may be sufficient to conclude that a plaintiff was not qualified. See

Santiago v. City of New York, No. 20-cv-6098 (ALC) (SLC), 2024 WL 4354878, at *10

(S.D.N.Y. Sept. 28, 2024) (finding plaintiff not qualified to be police officer because

disciplinary history contained, among other things, incidents of associating with

known felons, disobeying direct orders from commanders, failing to testify

truthfully under oath, and conviction for criminal trespass).

      But the contents of Plaintiff’s disciplinary history here pale in comparison to

cases where a history of discipline allowed for an inference that a person was so

unqualified as to not possess the basic skills necessary for the job. Plaintiff’s three

instances of failing to search an arrestee and his charges for insubordination and

incompetence, (ECF Nos. 113 at ¶¶ 55–60, 121–28, 132–35, 159, 164; 119 at ¶¶ 55–

60, 121–28, 132–35, 159, 164), do not amount to the type of extensive disciplinary

history that renders someone unqualified as a matter of law. Cf. Santiago, 2024 WL

4354878, at *10.

      In any event, Plaintiff has provided sufficient evidence for a reasonable jury

to conclude that he was “minimally qualified” for the job, at least for purposes of

meeting his prima facie burden. During his time with the Department, he received

at least one positive performance evaluation that said he met the Department’s

standards for 21 of the 22 categories listed. (ECF No. 112-41). A second performance

evaluation indicated he met the standards for 14 of those 22 categories, (ECF No.

112-31), even if he ultimately was placed on a performance improvement plan. (ECF
                                              27
      Case 7:19-cv-10983-VR       Document 126     Filed 03/31/25    Page 28 of 54




No. 112-42). Further, although his nine-year tenure with the Department, standing

alone, cannot establish he was qualified, see Santiago, 2024 WL 4354878, at *10

(rejecting argument that plaintiff was qualified solely because he was employed by

NYPD for 19 years until he resigned), it strengthens the inference that he possessed

the basic skills necessary for the job. See Gregory, 243 F.3d at 696 (finding that

inference of minimal qualification is easier to draw when employer has already

hired employee into the job and retained them for a significant period of time).

Indeed, whether Plaintiff was qualified for the position gets at the heart of the

disputed issues here—whether Plaintiff’s alleged performance issues were a pretext

for Defendants’ alleged discrimination. In such cases, the Second Circuit has

emphasized “that the qualification prong must not be interpreted in such a way as

to shift into the plaintiff’s prima facie case an obligation to anticipate and disprove

the employer’s proffer of a legitimate, [nondiscriminatory] basis for its decision.” Id.

(citing Powell v. Syracuse Univ., 580 F.2d 1150, 1155 (2d Cir. 1978)). Thus, Plaintiff

has provided sufficient evidence to allow a finder of fact to conclude that he is

qualified to be a police officer, thereby satisfying his minimal prima facie burden on

this element. See Forbes, 2025 WL 743945, at *7 (concluding plaintiff demonstrated

that jury could find plaintiff was minimally qualified despite less-than-stellar

performance). At the very least, Plaintiff’s qualification for the job raises a question

of fact for the jury to decide.

              3. Whether Plaintiff Suffered an Adverse Employment Action



                                              28
     Case 7:19-cv-10983-VR       Document 126       Filed 03/31/25   Page 29 of 54




      Defendants do not contend that Plaintiff’s alleged adverse employment

actions cannot meet his prima facie burden, but they also do not concede that this

element is satisfied. In any event, because Plaintiff bears the burden of

demonstrating satisfaction of this element, the Court addresses it below.

      “A plaintiff sustains an adverse employment action if she endures a

materially adverse change in the terms and conditions of employment.” Das v.

Consol. Sch. Dist. of New Britain, 369 F. App’x 186, 189 (2d Cir. 2010) (internal

quotation marks and citations omitted). For a change to be materially adverse, “it

must be more disruptive than a mere inconvenience or an alteration of job

responsibilities.” Pease v. City of New York, No. 19 Civ. 7693 (KPF), 2021 WL

2651400, at *9 (S.D.N.Y. June 28, 2021) (internal quotation marks and citation

omitted). It must be a change “such as termination, demotion evidenced by a

decrease in salary or wage, being given a less distinguished title, a material loss in

benefits, significantly diminished material responsibilities, or some other action

deleterious to the plaintiff’s current or future employment.” Davis-Garett v. Urban

Outfitters, Inc., 921 F.3d 30, 43 (2d Cir. 2019).

      Here, Plaintiff’s loss of vacation days in October 2019 and his ultimate

termination in November 2021 are materially adverse changes that amount to an

adverse employment action. See Allah v. City of N.Y. Dep’t of Parks and Rec., 47 F.

App’x 45, 49 n.2 (2d Cir. 2002) (concluding plaintiff’s termination and loss of

vacation days “clearly were adverse employment actions”), cert. denied, 537 U.S.

1232 (2003). The Department’s alleged failure to assign him to the drug task force
                                               29
     Case 7:19-cv-10983-VR       Document 126      Filed 03/31/25    Page 30 of 54




and traffic car unit is a closer call. A failure to be promoted constitutes an adverse

action. See Treglia v. Town of Manlius, 313 F.3d 713, 720 (2d Cir. 2002); Alvarado v.

Metro. Transp. Auth., No. 07 Civ. 3561(DAB), 2012 WL 1132143, at *10 (S.D.N.Y.

Mar. 30, 2012). But Plaintiff frames those other roles as an “assignment” to more

prestigious teams, (ECF No. 75 at ¶¶ 130, 145), not as a promotion. And he fails to

explain whether these assignments would come with other material benefits like

increased pay or a new title. Failing to receive a more prestigious assignment,

without any change in the conditions of his employment, is not an adverse

employment action. See Klein v. N.Y. Univ., 786 F. Supp. 2d 830, 846 (S.D.N.Y. Apr.

1, 2011) (holding that professor’s failure to be selected for faculty fellowship or

research professorship was not adverse action).

      Instead, Plaintiff alleges in his second amended complaint that not being

assigned to those roles caused him to lose later opportunities for career

advancement, as members of the drug task force and traffic car unit are more likely

to achieve roles like a sergeant or detective. (ECF No. 75 at ¶¶ 144–47, 150). Thus,

a finder of fact may conclude that he suffered an adverse employment action,

because not receiving those assignments was “deleterious to . . . [his] current or

future employment,” Davis-Garrett, 921 F.3d at 43, thereby satisfying this element

of his prima facie burden.

             4. Whether Circumstances Give Rise to an Inference of
                Discrimination




                                              30
         Case 7:19-cv-10983-VR   Document 126      Filed 03/31/25   Page 31 of 54




         Defendants also argue that Plaintiff has no evidence to show that the adverse

employment actions were taken under circumstances giving rise to an inference of

discrimination based on Plaintiff’s Hispanic national origin, either directly or

through circumstantial evidence of disparate treatment. (ECF No. 114 at 19-21).

The Court agrees.

         In both Plaintiff’s motion papers and second amended complaint, he alleges

that he is Hispanic but consistently frames his discrimination “based upon his

failure to conform to racial stereotypes” (ECF No. 75 at ¶ 2), given his upbringing in

Yonkers. He highlights specific instances – in 2014 and 2015 – where Hunter

allegedly made derogatory comments to him that being raised in Yonkers “wasn’t

the best approach,”13 his “Yonkers ghetto” did not add up to Hunter’s “Eastchester

professional,”14 “this is what Yonkers does,”15 and “this is how Yonkers trains its

men.”16 He repeatedly alleges that members of the Department treated him

differently because he was raised in Yonkers, and that they believed Yonkers to be a

less desirable place than Eastchester. (ECF No. 75 at ¶¶ 45, 54). But nowhere does

Plaintiff provide non-speculative evidence that Hunter’s remarks were about

Plaintiff’s Hispanic national origin, or that any adverse employment actions he

suffered were based on his Hispanic national origin. Indeed, Plaintiff provides scant

evidence that Defendants even knew he was Hispanic when these remarks were



13 ECF No. 75 at ¶ 45.
14 Id. at ¶ 54.
15 ECF No. 119 at 59 ¶ 33.
16 Id.

                                              31
      Case 7:19-cv-10983-VR            Document 126         Filed 03/31/25       Page 32 of 54




made.17 See, e.g., Woodman v. WWOR-TV, Inc., 411 F.3d 69, 82 (2d Cir. 2005)

(noting “that a defendant’s discriminatory intent cannot be inferred, even at the

prima facie stage, from circumstances unknown to the defendant”); see also Forbes,

2025 WL 743945, at *7–8 (S.D.N.Y. Mar. 7, 2025) (granting summary judgment

where plaintiff failed to show that decision-makers were aware of her pregnancy

when they terminated her employment).

        Not even Plaintiff seemed to think that his discrimination was based on his

Hispanic national origin. Indeed, Plaintiff never mentioned being Hispanic or being

discriminated against on that basis in his August 2018 letter to the Town, which

first alerted them to his discrimination claim.18 Nor did he state that he was

Hispanic or that the alleged discrimination was based on his Hispanic national



17 In Plaintiff’s Rule 56.1 statement, he asserts that it was made known at a union meeting in

August 2016 that he was Hispanic. (ECF No. 119 at ¶ 21). But the supporting evidence is an excerpt
from the Casey deposition, in which the deponent says that Plaintiff stated he was “Ecuadorian” but
does not believe Defendant Bonci was there. (ECF No. 117-4 at 7-8). Plaintiff also appears to cite to
the Conacchio deposition (which the Court located at ECF No. 117-19), which says nothing about a
union meeting. And finally, Plaintiff cites a group of documents relating to a fingerprint search
conducted before he was hired by the Department. (ECF No. 112-26 at 5). Although he points to one
mention of his ethnicity as “Hispanic” in connection with his application to be a security guard in
August 29, 2011, that same document otherwise consistently lists his ethnicity as “Not Hispanic,”
including in connection with his application to the Department on June 7, 2012. (Id. at 3, 5). In any
case, Plaintiff testified that he never saw this document and did not offer up the information
contained within it. (ECF No. 119 at ¶ 30). And Defendant Hunter testified that he never saw this
document, just that somebody internally at the Department would have reviewed it before Plaintiff
was hired. (ECF No. 112-12 at 80–81). Hunter also testified that he was not aware that Plaintiff was
Hispanic. (Id. at 80). And Bonci testified that he thought Plaintiff was Caucasian. (ECF No. 112-11
at 71–72).

18 The August 28, 2018, letter from Plaintiff’s counsel to the Town says Plaintiff has “legal claims for

racial discrimination” because he “is failing to conform to racial stereotypes.” (ECF No. 117-21 at 2).
It makes no mention of Plaintiff being Hispanic or claiming discrimination on that basis. There is
apparently a September 20, 2018, letter that states that Plaintiff is Caucasian (ECF No. 117-21 at
3), and that he is asserting claims for race discrimination. (Id. at 9).

                                                      32
      Case 7:19-cv-10983-VR           Document 126         Filed 03/31/25      Page 33 of 54




origin in either of his EEOC charges or in his original and first amended

complaints.19 And one would expect that if Plaintiff believed he was being

discriminated against because of being Hispanic, he would have said so.

       At most, Plaintiff provides evidence that he was discriminated against

because he was “raised in an underprivileged, racially diverse neighborhood in

Yonkers, New York” (id. at ¶ 36), which Defendants allegedly referred to in

derogatory terms as the Yonkers “ghetto” (id. at ¶ 54), and that Plaintiff’s

appearance and manner of speaking was not “white” enough. (Id. at ¶ 41). All these

allegations, if true, are deeply troubling. But being from Yonkers is not a race or

national origin for purposes of a discrimination claim. Nor does being raised in a

specific domestic city, like Yonkers, automatically equate to being Hispanic.

       Perhaps one could argue that Defendants’ references to Yonkers were code for

being Hispanic and therefore amount to discrimination based on national origin.

Plaintiff certainly tries to argue as much in his opposition. (ECF No. 118 at 15). But

there is no evidence in the record to support an inference that the city of Yonkers is

synonymous with being Hispanic.20 Notably, in Plaintiff’s second amended



19 Instead, Plaintiff has consistently described himself as a Caucasian (ECF Nos. 1 at ¶ 15; 24 at

¶ 27; 113 at ¶ 19; 117-21 at 3, 9; 119 at ¶ 19) from Yonkers who “fail[ed] to conform to racial
stereotypes.” (ECF No. 75 at ¶ 2). In other words, he was Caucasian but didn’t act “white” enough for
Defendants.
20 In support of his opposition, Plaintiff submitted an affidavit from a former supervisor at the

Department, in which he averred that when Hunter and Bonci referred to Yonkers, they were
referring to Plaintiff’s Hispanic background and the neighborhood where he grew up. (ECF No. 116
at ¶ 8). But “affidavits submitted to defeat summary judgment must be admissible themselves or
must contain evidence that will be presented in an admissible form at trial.” Fahrenkrug v. Verizon
Servs. Corp., 652 F. App’x 54, 56 n.2 (2d Cir. 2016) (internal quotation marks and citation omitted).
The former supervisor’s statement regarding what he understood Hunter and Bonci to mean by
                                                      33
      Case 7:19-cv-10983-VR            Document 126         Filed 03/31/25      Page 34 of 54




complaint, he made some attempt to explain how the phrase “Yonkers ghetto” could

be seen as coded language. But he focused exclusively on the fact that “according to

the U.S. Census Bureau, the July 1, 2019 estimated Black population of Yonkers

was 18.4%, while the estimated Black population of the Town [of Eastchester] was

1.9%.” (ECF No. 75 at ¶ 296). Elsewhere, Plaintiff refers to being criticized for his

“appearance and manner of speaking as being more consistent with the appearance

and manner of speaking of a black police officer than a Caucasian police officer” (id.

at ¶ 240) and refers to the phrase “ghetto” as being “associated with negative

stereotypes of Black culture.” (Id. at ¶ 246). Again, none of this equates to evidence

of Yonkers being synonymous with Plaintiff’s Hispanic national origin. See

Santiago, 2024 WL 4354878, at *12 (finding plaintiff failed to satisfy fourth element

of prima facie burden because he failed to connect the dots as to how his national

origin played a role in adverse actions); De la Concha v. Fordham Univ., 5 F. Supp.

2d 188, 192 & n.3 (S.D.N.Y. 1998) (finding plaintiff failed to satisfy prima facie

burden on national origin discrimination claim because record had no evidence that

his national origin played role in his termination).

        But even assuming these remarks about Yonkers were about Plaintiff’s

Hispanic national origin, Plaintiff also fails to show a sufficient nexus between his

Hispanic national origin and the adverse employment actions he suffered. See



Yonkers is wholly speculative, which is insufficient to demonstrate an inference of discrimination.
See Ghose v. Century 21, Inc., 108 F. Supp. 2d 373, 378 (S.D.N.Y. 2000) (finding evidence that
defendants insulted plaintiff’s accent was wholly speculative and not sufficient to satisfy prima facie
element), aff’d, 12 F. App’x 52 (2d Cir. 2001).
                                                      34
      Case 7:19-cv-10983-VR      Document 126      Filed 03/31/25   Page 35 of 54




Wheeler v. Praxair Surface Techs., Inc., 694 F. Supp. 3d 434, 457 (S.D.N.Y. 2023)

(finding plaintiff failed to meet prima facie case on inference of discrimination

where he failed to come forward with non-speculative evidence that adverse

employment action “was based on his being Black”); Zhang v. Barr Lab’ys, Inc., No.

98CV5717DC, 2000 WL 565185, at *4–5 (S.D.N.Y. May 8, 2000) (“Verbal comments

constitute evidence of discriminatory motivation when a plaintiff demonstrates that

a nexus exists between the allegedly discriminatory statements and a defendant’s

decision”). As noted above, the derogatory comments allegedly took place in 2014-

2015. But the specific adverse employment actions Plaintiff complains about relate

to events in 2018 or later. (See Section I, above) And nowhere does Plaintiff point to

evidence that shows that his Hispanic national origin played any role in those later

adverse employment actions. See, e.g., Bermudez v. City of New York, 783 F. Supp.

2d 560, 581 (S.D.N.Y. 2011) (noting that it is insufficient to simply recite the “false

syllogism: (1) I am (insert name of protected class); (2) something bad happened to

me at work; (3) therefore, it happened because I am (insert name of protected

class).”).

       In any event, to the extent Plaintiff attempts to point to disparate treatment

between him and a coworker as evidence of circumstances giving rise to an

inference of discrimination, his argument is unavailing. To demonstrate disparate

treatment, Plaintiff must establish that he was treated “less favorably than a

similarly situated employee outside his protected group.” Graham v. Long Island

R.R., 230 F.3d 34, 39 (2d Cir. 2000). A coworker is considered similarly situated if
                                              35
      Case 7:19-cv-10983-VR           Document 126         Filed 03/31/25      Page 36 of 54




he or she “engaged in comparable conduct” and was “subject to the same

performance evaluation and discipline standards.” Ruiz v. County of Rockland, 609

F.3d 486, 493–94 (2d Cir. 2010) (internal quotation marks and citation omitted).

Put differently, plaintiff must show that he and his comparator “shared sufficient

employment characteristics,” including similarities in seniority, duties, and quality

of performance. Hornig v. Trs. of Columbia Univ. in City of N.Y., No. 17 Civ. 3602

(ER), 2022 WL 976267, at *18 (S.D.N.Y. Mar. 31, 2022) (internal quotation marks

and citations omitted); see DeJesus v. Starr Tech. Risks Agency, Inc., No. 03

Civ.1298 RJH, 2004 WL 2181403, at *9 (S.D.N.Y. Sept. 27, 2004).

       Between his pleadings and opposition papers, Plaintiff identifies no less than

18 alleged comparators. Officers Bonci, Jr., Dura, Guerriero, Park, Louros, and

Yanni, Lieutenant Kiernan, Sergeants Bernstein and Castellano, and Detective

Santomauro are identified by name, but the remaining comparators are only

identified by initials.21 (ECF Nos. 75 at ¶¶ 139–40, 142–48, 173–74, 179, 192–93,

224, 231; 118 at 20; 119 at 85–91 ¶¶ 264–320). Many of Plaintiff’s arguments

asserting disparate treatment are generalized assertions that these comparators

“were subject to the same performance evaluations, disciplinary standards, and

supervision,” (ECF No. 75 at ¶ 194), engaged in worse behavior than him, and were

either not disciplined or disciplined less harshly.



21 Plaintiff only identifies these comparators as “AC,” “DF,” “K,” “RR,” “RN,” “KP,” “AB,” and “GC.”

(ECF No. 119 at 86 ¶¶ 267–313).


                                                     36
     Case 7:19-cv-10983-VR       Document 126      Filed 03/31/25   Page 37 of 54




      But he provides little to no information regarding the employment

characteristics of these individuals. For instance, he alleged that Dura and Yanni

were assigned to the drug task force over him, and that Bonci, Jr., Dura, Park, and

Louros were assigned to the traffic car unit over him. (ECF No. 75 at ¶¶ 142–48).

But the record is devoid of any additional information about how long these

individuals were at the Department and how well they performed. The same is true

for the comparators identified only by their initials. Plaintiff asserts that those

individuals engaged in conduct such as skipping work, issuing baseless tickets, and

drug use. (ECF No. 119 at 86 ¶¶ 267–313). But the record is devoid of any

information about their employment characteristics. The only information Plaintiff

puts forth is about what penalties were imposed, and many of those individuals

were allegedly penalized with loss of vacation days, demotions, or forced

resignation, (id.), which cuts against Plaintiff’s argument that he was discriminated

against when he lost vacation days in October 2019 and was later terminated. That

lack of information regarding the employment characteristics of the comparators

means a reasonable jury would be unable to determine whether they are sufficiently

similarly situated to Plaintiff. See Alvarado v. Nordstrom, Inc., 685 F. App’x 4, 7–8

(2d Cir. 2017).

      Officer Guerriero is the only comparator identified with sufficient

information in the record for a jury to determine whether he and Plaintiff are

similarly situated. Guerriero was present with Plaintiff during the January 2021

incident that resulted in the investigation resulting in Plaintiff’s termination, and
                                              37
      Case 7:19-cv-10983-VR       Document 126      Filed 03/31/25    Page 38 of 54




Plaintiff argues that Guerriero was similarly situated to him but no subjected to an

investigation or termination. (ECF No. 118 at 17).

       Here, Plaintiff fails to demonstrate that he was similarly situated to

Guerriero. First, Guerriero was less senior than Plaintiff. As of January 2021,

Plaintiff had worked for the Department for almost ten years, compared to

Guerriero’s tenure of roughly one year. See Hornig, 2022 WL 976267, at *18 (finding

Plaintiff failed to establish sufficient comparator because he was “more senior” than

comparator, who was junior faculty member). Second, Guerriero had no history of

disciplinary issues, unlike Plaintiff, who was previously investigated twice for

failing to follow Department search procedures. See Alvarado, 685 F. App’x at7–8

(finding no causation where comparator had no similar history of incidents similar

to plaintiff’s).

       Third, and finally, Guerriero’s conduct and Plaintiff’s conduct were “not of

comparable seriousness.” Miceli v. Mehr, 830 F. App’x 63, 65 (2d Cir. 2020).

Plaintiff’s disciplinary charges of insubordination and incompetence stemmed, in

part, from his actions after the January 2021 incident when he allegedly “ma[de] a

false report to a superior officer,” “ma[de] a false police report,” and “fail[ed] to

cooperate fully and truthfully in an internal affairs interview.” (ECF No. 113 at

¶ 159). There is no evidence in the record showing Guerriero engaged in any similar

conduct. Further, Guerriero’s conduct during the January 2021 incident did not rise

to the level of seriousness that’s Plaintiff’s conduct did. Although Guerriero, like

Plaintiff, failed to search the arrestee before placing him in the cell, Guerriero never
                                               38
     Case 7:19-cv-10983-VR       Document 126         Filed 03/31/25   Page 39 of 54




unholstered his taser. Plaintiff’s decision to draw his taser was an additional reason

for his two disciplinary charges, and is a significant step beyond failing to properly

search an individual. It involved a display of force not seen when simply performing

a routine search. Thus, Plaintiff fails to satisfy this prong of his prima facie burden,

as no reasonable finder of fact could conclude that Plaintiff and Guerriero are

similarly situated. See Miceli, 830 F. App’x at 65 (finding Plaintiff police officer and

officer comparators not similarly situated because comparators “engaged in a verbal

argument” whereas Plaintiff “engaged in a physical fight with a civilian” and was

accused of lying in a letter regarding his procurement of a vehicle); Alvarado, 685 F.

App’x at 7–8 (finding comparators “small acts of insubordination” did not rise to the

level of Plaintiff’s more aggressive conduct).

      By failing to satisfy at least one of the prongs of his initial burden, the

burden does not shift to Defendants to provide legitimate, nondiscriminatory

reasons for Plaintiff’s termination, and Defendants are entitled to summary

judgment on Plaintiff’s discrimination claims. See Ali, 2022 WL 2443010, at *3

(affirming summary judgment for defendants because plaintiff failed to satisfy

initial burden of McDonnell Douglas framework).

      D.     Plaintiff’s Retaliation Claims

      Defendants argue that all of Plaintiff’s retaliation claims should be dismissed

because he cannot satisfy his initial burden to demonstrate a causal connection

between his protected activity and any adverse employment action. (ECF No. 114 at



                                                 39
     Case 7:19-cv-10983-VR       Document 126       Filed 03/31/25   Page 40 of 54




23–26). They also argue that Plaintiff has no direct or indirect evidence that the

adverse action occurred because of his protected activity. (Id.).

      Plaintiff argues in opposition that he has shown a sufficient connection

because his protected activity, this ongoing litigation, was in close temporal

proximity to his termination. (ECF No. 118 at 16–17). He further argues that he can

show retaliation because another officer was treated differently from him, in that

the other officer was not punished. (Id.).

      Like Plaintiff’s national origin discrimination claims, Plaintiff’s retaliation

claims under Title VII, Section 1983, and the N.Y.S.H.R.L. are all analyzed under

the same McDonnell Douglas burden-shifting standard. Plaintiff bears the initial

burden to show that (1) he was engaged in an activity protected under the specific

statute, (2) Defendants were aware of his participation in that protected activity,

(3) he suffered an adverse employment action, and (4) there was a causal connection

between his protected activity and that adverse action. See Yu v. N.Y.C. Hous. Dev.

Corp., 494 F. App’x 122, 126 (2d Cir. 2012).

      Here, it is undisputed that Plaintiff satisfies the first three prongs of that

test; the parties only dispute whether he can satisfy the fourth prong and show a

causal connection. Between his second amended complaint and his motion papers,

the alleged protected activity consists of two events, his initial complaint to the

Department on August 28, 2018, about discrimination, and the instant ongoing

litigation. (ECF Nos. 75 at ¶ 167; 118 at 17). And he alleges two of the three adverse

employment actions alleged in his discrimination claims—the loss of vacation days
                                               40
      Case 7:19-cv-10983-VR           Document 126         Filed 03/31/25      Page 41 of 54




in October 2019 and his termination in November 2021.22 “Causation can be proven

(1) directly through evidence of retaliatory animus directed against the plaintiff by

the defendant; or (2) indirectly either (a) by showing that the protected activity was

followed closely by discriminatory treatment, or (b) through other circumstantial

evidence such as disparate treatment of fellow employees who engaged in similar

conduct.” D’Andrea v. Nielsen, 765 F. App’x 602, 605 (2d Cir. 2019) (internal

quotations marks and citation omitted).

       As for direct evidence of retaliatory animus, Plaintiff fails to highlight any

such evidence in his motion papers, instead choosing to focus on indirect evidence of

temporal proximity and disparate impact. With respect to temporal proximity, no

bright line distinguishes what amount of time is too attenuated to establish the

requisite connection, which allows a court to exercise its judgment based on the

context of the particular case. See Littlejohn v. City of New York, 795 F.3d 297, 319

(2d Cir. 2015); Espinal v. Goord, 558 F.3d 119, 129 (2d Cir. 2009). But courts “have

generally held that causation can only be inferred after the passage of a few weeks

or months.” D’Andrea, 765 F. App’x at 605; see Ball v. Marriott Int’l, Inc., 627 F.




22 Although not addressed in his motion papers, Plaintiff’s second amended complaint also stated

that he suffered additional allegedly adverse employment actions in relation to his retaliation claims
when he was not (1) recognized for his contributions to a September 2018 arrest, (2) allowed to
participate in a local community outreach program, (3) allowed to manage the Department’s social
media page, and (4) not allowed to place a small Christmas tree in the office. (ECF No. 75 at ¶ 251).
But no reasonable finder of fact could consider these to be adverse actions because they were not
materially adverse changes to the terms and conditions of his employment. See Pease, 2021 WL
2651400, at *9 (“Not every unpleasant matter short of discharge or demotion creates a cause of
action.”) (internal quotation marks and citations omitted).
                                                     41
      Case 7:19-cv-10983-VR            Document 126         Filed 03/31/25      Page 42 of 54




Supp. 3d 296, 323 (S.D.N.Y. 2022) (“[M]ore than nine months is too long a time to

establish this causal relationship.”); Uddin v. City of New York, 427 F. Supp. 2d

414, 434 (S.D.N.Y. 2006) (finding no causal connection where alleged adverse

actions took place “more than nine months” after last alleged protected activity).

        Viewing the chronology of Plaintiff’s protected activities and the alleged

adverse employment actions, Plaintiff cannot show a sufficient temporal connection.

First, there is a gap of over 12 months between Plaintiff’s first protected activity in

August 2018 and his adverse action of losing vacation days in October 2019. That

roughly yearlong gap of time is too long to demonstrate a causal connection. See

Ball, 627 F. Supp. 3d at 323; Uddin, 427 F. Supp. 2d at 434. And the gap between

this protective activity and his termination in November 2021 is even longer.

        Second, Plaintiff’s other protected activity—filing this action—occurred on

November 27, 2019. But the only remaining adverse action he suffered—

termination of employment—did not occur until November 16, 2021. That gap of

almost two years is well beyond the period where a causal connection can be

shown.23 Even viewing his first amendment of his complaint in March 2020 as the

latest protected activity,24 that still creates a gap in time of over 18 months between

his protected activity and the adverse action. That lengthy period of time is



23 Because Plaintiff commenced this action after his loss of vacation days in October 2019, there can

be no causal connection between this adverse action and the filing of this lawsuit. See Miller v. Levi
& Korsinsky, LLP, 695 F. Supp. 3d 397, 417 (S.D.N.Y. 2023) (granting summary judgment on
retaliation claims because adverse actions occurred before protected activity).
24 Plaintiff’s second amended complaint occurred after his termination, and, thus, cannot serve as a

cause for his termination.
                                                      42
     Case 7:19-cv-10983-VR      Document 126      Filed 03/31/25   Page 43 of 54




insufficient to demonstrate the causal connection needed to sustain a retaliation

claim based on temporal proximity. See Ball, 627 F. Supp. 3d at 323; Uddin, 427 F.

Supp. 2d at 434.

      Plaintiff’s contention that the litigation’s ongoing status creates a causal

connection by default through temporal proximity is unavailing. To show causation

when the alleged protected activity is a pending cause of action, it must be shown

that the adverse action was taken “in response to” the ongoing litigation. Chidume

v. Greenburgh-North Castle Union Free Sch. Dist., No. 18-cv-01790 (PMH), 2020 WL

2131771, at *11 (S.D.N.Y. May 4, 2020) (emphasis added); see Cruz v. Lee, No. 14 cv

4870 (NSR)(JCM), 2016 WL 1060330, at *7 (S.D.N.Y. Mar. 15, 2016) (finding causal

connection where litigation was ongoing when adverse action occurred and

defendant stated plaintiff was denied protective custody “because of the case

against [defendant]”). But Plaintiff points to no evidence that the decision to

terminate him was done because this action was ongoing. He merely argues that

there is a sufficient connection because the two events occurred at the same time.

But that correlation does not equal causation.

      That lack of connection is emphasized by the fact that Hunter and Bonci did

not initiate or complete the investigation of the November 2021 incident that led to

Plaintiff’s termination. That investigation was initiated and completed by nonparty

Chief Rodriguez, (ECF Nos. 113 at ¶¶ 151–58; 119 at ¶¶ 151–58), who is not a

named defendant here and is not alleged to have had any retaliatory animus

against Plaintiff. The same holds true for the Hearing Officer; he is not named as a
                                             43
     Case 7:19-cv-10983-VR       Document 126      Filed 03/31/25   Page 44 of 54




defendant and Plaintiff proffers no evidence that he harbored any retaliatory

animus against Plaintiff while conducting the hearing and issuing his

recommendation.

      Lastly, regarding disparate treatment, Plaintiff fails to demonstrate that a

similarly-situated coworker was treated differently than him. As explained above in

analyzing his discrimination claims, Plaintiff identified a host of alleged

comparators, but there was insufficient information in the record to determine

whether they were similarly situated to him. Officer Guerriero was the only alleged

comparator with sufficient information to analyze whether he was similarly

situated, and it was determined that he was not. (See Section III.C.4, above). Thus,

Plaintiff fails to satisfy the causation prong of his initial burden, the burden does

not shift to Defendants to provide legitimate, nondiscriminatory reasons for

Plaintiff’s adverse employment actions, and Defendants are entitled to summary

judgment on Plaintiff’s retaliation claims. See Miceli, 830 F. App’x at 65 (affirming

grant of summary judgment on retaliation claims because plaintiff failed to satisfy

causation prong of his initial McDonnell Douglas burden).

      E. Whether Defendants Had Legitimate, Nondiscriminatory Reasons

      As noted above, once a plaintiff makes out their prima facie case on

discrimination and retaliation, the burden shifts to the defendant “to demonstrate a

legitimate, [nondiscriminatory] purpose for the adverse employment action.”

Kirkland-Hudson, 665 F. Supp. 3d at 449. Here, the Court has already found that

Plaintiff has not satisfied his prima facie burden on either his discrimination or
                                              44
     Case 7:19-cv-10983-VR      Document 126        Filed 03/31/25   Page 45 of 54




retaliation claims, so the burden does not shift to Defendants. But even if Plaintiff

had met his initial burden, Defendants have demonstrated legitimate,

nondiscriminatory reasons for their actions.

      In support of his discrimination and retaliation claims, Plaintiff points to the

same three adverse actions: (1) not being assigned to either the drug task force or

the traffic car unit in March 2018, (2) being penalized with a loss of vacation days in

October 2019, and (3) being terminated in November 2021. And there is evidence in

the record to support a nondiscriminatory reason for each of those actions. First,

before March 2018, Plaintiff admitted that he failed to properly search an arrestee

for contraband, was placed on three separate remedial training plans and a

performance improvement plan, and admitted that he improperly discharged a

taser. (ECF Nos. 112-38; 112-42; 112-46; 113 at ¶¶ 55–60, 63, 79-98, 109, 116–20;

119 at ¶¶ 55–60, 63, 79-98, 109, 116–20). Plaintiff even agreed to forfeit vacation

days as a penalty for failing to search the arrestee (ECF Nos. 112-34) and was put

on notice that any further instances of similar misconduct would result in

additional disciplinary charges that could result in termination of his employment.

(ECF Nos. 112-34; 113 at ¶¶ 61–62; 119 at ¶¶ 61–62). Those alleged mistakes also

occurred after Plaintiff had been with the Department for multiple years. It is

reasonable for a factfinder to conclude that Plaintiff’s poor performance in the years

before March 2018 rendered him unworthy of assignment to the “prestigious” (ECF

No. 75 at ¶ 130) drug task force and traffic car unit, providing Defendants with a

legitimate reason for not giving him those assignments.
                                               45
     Case 7:19-cv-10983-VR      Document 126      Filed 03/31/25   Page 46 of 54




      Second, Plaintiff’s second failure to search an arrestee in July 2019, standing

alone, could reasonably be considered as a legitimate reason to penalize him by

losing vacation days in October 2019, especially since Plaintiff agreed to the

findings and punishment. (ECF Nos. 112-14; 113 at ¶¶ 121–28; 119 at ¶¶ 121–28).

As noted above, Plaintiff failed to discover a bandana before placing the arrestee

into a holding cell, which the arrestee later used in an attempted suicide by

hanging. (ECF Nos. 112-14; 113 at ¶¶ 122, 125; 119 at ¶¶ 122, 125). An

investigation occurred, during which Plaintiff admitted that he failed to search the

arrestee. (ECF Nos. 112-14 at 4–5; 113 at ¶ 125; 119 at ¶ 125). After the

investigation was complete, the Department proposed that Plaintiff lose three

vacation days as a penalty for violating Department rules, and Plaintiff accepted

the proposal in October 2019. (ECF Nos. 75 at ¶¶ 192–197; 112-14 at 6). When that

second failure to search is added onto the other issues identified above, a factfinder

would have even more evidence to conclude that Defendants had legitimate reasons

for the loss of vacation days in October 2019.

      Third, and finally, Plaintiff’s termination in November 2021 occurred after

the Town adopted a recommendation by a Hearing Officer that Plaintiff be

terminated, which came after roughly four days of proceedings where the Hearing

Officer viewed video evidence and heard witness testimony. (ECF No. 113 at ¶¶ 165,

168–72; 119 at ¶¶ 165, 168–72). Those proceedings stemmed from Plaintiff

receiving formal charges for insubordination and incompetence after failing for a

third time to search an arrestee properly. (Id.). Standing alone, those events would
                                             46
     Case 7:19-cv-10983-VR      Document 126      Filed 03/31/25    Page 47 of 54




also allow a jury to conclude that Defendants had a legitimate reason for

terminating him. Viewing those events together with the series of prior instances of

Plaintiff’s poor performance only enhances the likelihood that a jury could conclude

Defendants had a legitimate reason to terminate him.

      Defendants’ legitimate, nondiscriminatory reasons for the adverse actions at

issue here are best described, generally, as Plaintiff’s poor performance, and “[p]oor

performance is a legitimate [nondiscriminatory] reason for an adverse employment

action.” See Luo v. AIK Renovation Inc., No. 23-cv-5878 (LJL), 2024 WL 4444283, at

*8 (S.D.N.Y. Oct. 8, 2024). Thus, Defendants have shown that a finder of fact could

conclude that they possessed legitimate, nondiscriminatory reasons for the adverse

actions highlighted by Plaintiff, thereby satisfying their shifted burden. Id.

      F.     Whether Plaintiff Has Demonstrated Pretext

      Here, the Court has already found that Plaintiff has not satisfied his prima

facie burden on either his discrimination or retaliation claims, and that even if he

had satisfied this burden, Defendants have provided legitimate, nondiscriminatory

reasons for the adverse employment actions. But assuming Plaintiff had satisfied

his prima facie burden, the burden would now shift back to Plaintiff to demonstrate

that Defendants’ conduct was merely pretext for the alleged discrimination and

retaliation. Kirkland-Hudson, 665 F. Supp. 3d at 449.

      Plaintiff contends that he has demonstrated pretextual discrimination and

retaliation because a jury could conclude that Defendants’ nondiscriminatory reason

of poor performance was false. (ECF No. 118 at 16). He further contends that even if
                                             47
     Case 7:19-cv-10983-VR       Document 126      Filed 03/31/25   Page 48 of 54




Defendants proffer nondiscriminatory reasons for their adverse actions, the mere

fact that the analysis reached the shifted burden on pretext means summary

judgment must be denied, because a jury must weigh the prima facie elements

against Defendants’ nondiscriminatory reasons. (Id. at 16–20). In reply, Defendants

argue that the Court need not address pretext because Plaintiff fails to satisfy his

prima facie burden on his discrimination and retaliation claims. (ECF No. 124 at

10, 12). As discussed below, for the same reasons Plaintiff fails to meet his prima

facie burden, Plaintiff has also failed to show that Defendants’ legitimate,

nondiscriminatory reasons for the adverse employment actions were pretextual.

             1. Whether Plaintiff has Shown Pretextual Discrimination

      To demonstrate pretextual discrimination, Plaintiff must produce enough

evidence for a rational fact finder to conclude either that (1) the legitimate,

nondiscriminatory reasons offered by Defendants were false, or (2) his status as a

member of a protected class was a motivating factor in Defendants taking the

adverse action. Bart v. Golub Corp., 96 F.4th 566, 576 (2d Cir. 2024), cert. denied,

145 S. Ct. 173 (2024). “The plaintiff must ‘produce not simply some evidence, but

sufficient evidence to support a rational finding that the legitimate,

[nondiscriminatory] reasons proffered by the defendant were false, and that more

likely than not the discrimination was the real reason for the employment action.’”

Rivera v. Greater Hudson Valley Health Sys., No. 21-cv-1324 (NSR), 2023 WL

2588308, at *9 (S.D.N.Y. Mar. 21, 2023) (quoting Weinstock v. Columbia Univ., 224

F.3d 33, 42 (2d Cir. 2000)). A plaintiff may also satisfy this burden by producing
                                              48
     Case 7:19-cv-10983-VR      Document 126      Filed 03/31/25   Page 49 of 54




other evidence that the employer’s adverse action was motivated at least in part by

the plaintiff’s membership in a protected class. See Bart, 96 F.4th at 576. “In short,

the question becomes whether the evidence, taken as a whole, supports a sufficient

rational inference of discrimination.” Weinstock, 224 F.3d at 42. Summary judgment

is appropriate when a defendant “has come forward with evidence of a dispositive

nondiscriminatory reason” that no finder of fact could reject. Cronin v. Aetna Life

Ins. Co., 46 F.3d 196, 203 (2d Cir. 1995). A nondiscriminatory reason is dispositive

when it is “egregious enough to merit the discipline imposed.” Edwards v. Khalil,

No. 12 Civ. 8442 (JCM), 2016 WL 1312149, at *20 (S.D.N.Y. Mar. 31, 2016).

      Plaintiff fails to demonstrate pretextual discrimination as to all three of the

adverse employment actions at issue here. First, with respect to his termination,

Plaintiff does not allege that the actual decisionmakers for that adverse action

made any discriminatory statements or had engaged in any other discriminatory

conduct. His pleadings and motion papers contain no allegations that Chief

Rodriguez and the Hearing Officer participated in any discrimination, which is

supported by their absence as named defendants. Nor does the evidence in the

record allow a rational finder of fact to conclude that Defendants’ proffered reason

for termination—poor performance exhibited through insubordination and

incompetence—was false. As noted above, Plaintiff’s termination in November 2021

occurred after the Town adopted a recommendation by an independent Hearing

Officer that Plaintiff be terminated, which came after roughly four days of

proceedings where the Hearing Officer viewed video evidence and heard witness
                                             49
     Case 7:19-cv-10983-VR       Document 126       Filed 03/31/25   Page 50 of 54




testimony. (ECF No. 113 at ¶¶ 165, 168–72; 119 at ¶¶ 165, 168–72). And, as

explained above, the connection between the earlier statements allegedly made by

Defendant Hunter about Yonkers and Plaintiff’s Hispanic national origin is

missing. In short, the evidence, taken as a whole, does not support a rational

inference that Plaintiff’s Hispanic national origin was a motivating factor in

deciding to terminate him.

      Second, the same holds true for Plaintiff’s second adverse action of losing

vacation days in October 2019, a penalty that stemmed from his second failure to

search an arrestee. No rational fact finder could conclude that the legitimate,

nondiscriminatory reasons offered by Defendants were false or that Plaintiff’s

Hispanic national origin was a motivating factor. Indeed, Defendants have come

forward with evidence of a dispositive, nondiscriminatory reason that no finder of

fact could reject: first, Plaintiff previously lost days for similar conduct and, second,

he admitted to the conduct in both instances. After Plaintiff’s first failure to

properly search an arrestee, he agreed to a penalty in which he lost multiple

vacation days. (ECF Nos. 113 at ¶¶ 60–62; 119 at ¶¶ 60–62). His loss of vacation

days in October 2019 also resulted from his admitted failure to search an arrestee,

and he agreed to the penalty of losing vacation days. (ECF Nos. 113 at ¶ 127; 119 at

¶ 127). No rational finder of fact could conclude that Plaintiff’s conduct was not

worthy of the penalty imposed, as he agreed to it and had accepted a nearly

identical penalty previously.



                                               50
     Case 7:19-cv-10983-VR       Document 126      Filed 03/31/25   Page 51 of 54




      Third, and finally, with respect to Defendants’ decision not to assign Plaintiff

to the drug task force and traffic car unit in March 2018, no rational fact finder

could conclude that the legitimate, nondiscriminatory reasons offered by

Defendants were false or that Plaintiff’s Hispanic national origin was a motivating

factor. By the time Plaintiff requested an assignment with those teams, he had

already been subjected to one forfeiture of vacation days, multiple remedial training

plans, a performance improvement plan, and had improperly discharged a taser.

(See Section I.A.–E., above). Even if one assumes that the remedial training and

improvement plans were unwarranted, as Plaintiff suggests, there is no getting

around the fact that Plaintiff admitted to the improper search and accepted the

forfeiture of vacation days as the appropriate punishment (ECF Nos. 75 at ¶ 192–

97; 112-14 at 6; 113 at ¶¶ 121–28; 119 at ¶¶ 121–28) and admitted to improperly

discharging a taser (ECF Nos. 112-10 at 97–102; 112-46 at 3–4; 113 at ¶¶ 116–20;

119 at ¶¶ 116–20). And as noted above, the evidence that Plaintiff’s Hispanic

national origin was a motivating factor in these assignment decisions is speculative

at best, given Plaintiff’s failure to connect any discriminatory comments in 2014

and 2015 to his Hispanic national origin or to Defendant’s assignment decision

roughly three years later. (See Section III.C.4., above).

             2. Whether Plaintiff has Shown Pretextual Retaliation

      To demonstrate pretextual retaliation, Plaintiff must make a slightly

different showing from what is required for pretextual discrimination. Plaintiff

must demonstrate that Defendants’ alleged retaliation “was a ‘but-for’ cause for the
                                              51
     Case 7:19-cv-10983-VR       Document 126      Filed 03/31/25   Page 52 of 54




adverse action, and not simply a ‘substantial’ or ‘motivating’ factor” in their

decisions. Zann Kwan v. Andalex Grp. LLC, 737 F.3d 834, 845–46 (2d Cir. 2013).

      In other words, he must show that the adverse actions “would not have

occurred in the absence of the retaliatory motive.” Fu v. Consol. Edison Co. of N.Y.,

Inc., 855 F. App’x 787, 791 (2d Cir. 2021) (internal quotation marks and citation

omitted). This may be achieved “by demonstrating weaknesses, implausibilities,

inconsistencies, or contradictions in the employer’s proffered legitimate,

nonretaliatory reasons for its action.” Zann Kwan, 737 F.3d at 846.

      Plaintiff fails to demonstrate that there was pretextual retaliation. Focusing

on each specific adverse action, no rational finder of fact could conclude that the

action would not have occurred without retaliatory motive. First, Plaintiff admitted

to the underlying violation and agreed to the punishment of loss of vacation days in

October 2019. (ECF Nos. 112-14 at 6; 113 at ¶ 127; 119 at ¶ 127). Unlike his

termination, which was unilaterally imposed by the Hearing Officer and the Town,

he had a hand in the creation of this action. This action would have occurred even if

there were no retaliatory motive. See Hardy v. Rochester Genesee Reg’l Transp.

Auth., 906 F. Supp. 2d 178, 187 (W.D.N.Y. 2012) (finding no pretextual retaliation,

in part, because plaintiff entered into agreement at center of adverse action).

Second, Plaintiff’s termination came after four days of proceedings before a neutral

Hearing Officer, involving multiple witnesses and an expert. (ECF Nos. 113 at

¶¶ 163–65; 119 at ¶¶ 163–65). And the underlying investigation was started by a

supervisor, who is not a named defendant here and is not alleged to have had any
                                              52
     Case 7:19-cv-10983-VR       Document 126       Filed 03/31/25   Page 53 of 54




retaliatory animus against Plaintiff. (ECF Nos. 113 at ¶ 151; 119 at ¶ 151). Indeed,

Plaintiff fails to allege any retaliatory motive to those two individuals. See Sheafe-

Carter v. Donohue, No. 11-CV-4128, 2013 WL 4458746, at *7 (E.D.N.Y. Aug. 16,

2013) (finding no pretextual retaliation, in part, because plaintiff failed to point to

statements attributable to decisionmakers), aff’d, 579 F. App’x 4 (2d Cir. 2014), cert.

denied, 575 U.S. 921 (2015).

      Thus, Plaintiff fails to satisfy his shifted burden to demonstrate pretextual

retaliation. No rational finder of fact could conclude that Plaintiff’s loss of vacation

days in October 2019 and his termination in 2021 would not have occurred but-for

retaliatory motive. See Newbury v. City of Niagara Falls, No. 23-7976-cv, 2025 WL

323340, at *5–6 (2d Cir. Jan. 29, 2025) (affirming summary judgment to defendant

on retaliation claim, even assuming plaintiff met prima facie burden, because

plaintiff failed to produce evidence that termination would not have occurred but for

improper retaliation).

                                    IV.    CONCLUSION

      For the above reasons, the motion for summary judgment by Defendants

Town of Eastchester, Timothy Bonci, and Jeffrey Hunter is GRANTED. The Clerk

of the Court is respectfully directed to terminate the pending motion at ECF No.

111, enter judgment for Town of Eastchester, Timothy Bonci, and Jeffrey Hunter,

and close the case.

      SO ORDERED.

DATED:       White Plains, New York
                                               53
Case 7:19-cv-10983-VR   Document 126   Filed 03/31/25   Page 54 of 54




      March 31, 2025



                              ______________________________
                              VICTORIA REZNIK
                              United States Magistrate Judge




                                  54
